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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                  )
                                                  )
 VIAMEDIA, INC.,
                                                  )
        Plaintiff,                                )     No. 16 C 5486
                                                  )
 v.                                               )     Hon. Charles R. Norgle, Sr.
                                                  )
 COMCAST CORPORATION and                          )     Hon. Sheila M. Finnegan,
 COMCAST CABLE COMMUNICATIONS                     )     Magistrate Judge
 MANAGEMENT, LLC,                                 )
                                                  )
        Defendants.                               )

  COMCAST’S REPLY IN SUPPORT OF ITS MOTION (1) TO COMPEL VIAMEDIA
     TO SERVE A PRIVILEGE LOG AND (2) TO AMEND THE ESI ORDER

       Viamedia’s opposition is yet another example of Viamedia taking unreasonably narrow

positions about its discovery obligations, even as Viamedia seeks dramatically to expand the

scope of this case (including its purported damages) on remand.

       Viamedia fails to provide a single substantive reason why it should not serve a proper

privilege log. Viamedia does not deny that a log is necessary for Comcast to evaluate

Viamedia’s privilege assertions. Nor does Viamedia deny that it improperly redacted documents

sent to a third party, underscoring the need for a log to evaluate Viamedia’s privilege assertions.

And Viamedia does not even assert that it would be burdensome for it to prepare a full log.

Instead, Viamedia’s opposition rests entirely on a formalistic reading of an order entered nearly

five years ago, when the parties could not have anticipated the substantial post-complaint

productions that have now been exchanged.

       Doubtless aware of the weakness of Viamedia’s position, Viamedia’s counsel recently

told the Court that he expected the parties to resolve Comcast’s motion. Ex. C at 19:10-11. But

contrary to that representation by Viamedia’s counsel, Viamedia instead filed its opposition
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rather than attempt to resolve the dispute with Comcast. Viamedia maintains that its offer to

provide a privilege log limited to documents generated prior to the filing of the suit resolves the

dispute. It does not. As demonstrated below and in Comcast’s opening brief, there is no

legitimate basis for Viamedia’s resistance to producing a privilege log for post-suit documents

withheld from its remand production, and the Court should grant Comcast’s motion.

                                          ARGUMENT

       Viamedia’s opposition (“Opp.”) confirms that its sole argument for refusing to provide a

full privilege log is that, in January 2017, the parties agreed not to log documents created after

Viamedia filed its original complaint in May 2016. Now, similar to its positions on the other

post-remand discovery motions, Viamedia asks the Court to disregard how circumstances have

changed in this case in the nearly five years since the initial phase of discovery commenced. In

January 2017, the parties could not have reasonably expected that: (1) after discovery and

summary judgment in favor of Comcast, the Seventh Circuit would reverse and remand for

further discovery; (2) on remand, Viamedia would substantially expand the size of its case to

encompass new claims, new issues, new geographic areas, and new time periods that were not

previously at issue in discovery; and (3) the parties would make substantial productions of

additional documents dated many years after the complaint was filed. Yet all of those things

have happened. Because of these twists and turns in this litigation, the ESI Order from five years

ago should be amended to align with the scope that document discovery has taken on remand.

       Nowhere does Viamedia’s opposition acknowledge that on remand Viamedia has

objected to producing documents from before mid-2016, forcing Comcast to move to compel a

production of documents from the pre-complaint time period. Dkt. 410 at 8-10. Consistent with

Viamedia’s position, the vast majority of its remand production consists of documents dated


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after the complaint was filed in May 2016. Mot. 3. Yet Viamedia seeks to withhold documents

from that time period without logging a single one, leaving Comcast utterly in the dark about

Viamedia’s privilege claims. Viamedia does not argue – and could not argue with a straight face

– that the parties would have agreed to a May 23, 2016 privilege log cutoff if they had known

Viamedia’s remand document production would be focused on the post-complaint time period.

The Court should exercise its authority to align the privilege log requirement to the current

reality of this case.1

        Viamedia’s opposition falsely argues that Comcast misstated Viamedia’s position,

claiming that Viamedia supposedly “made clear that it would prepare a privilege log for [its

remand] production that complies with the Agreed ESI Order.” Opp. 1. If any party is

misleading the Court, it is Viamedia, which seeks to distract from its position that it should not

have to produce a privilege log for the vast majority of its post-remand production. Comcast

contemporaneously documented Viamedia’s refusal to produce any privilege log at all.2

Viamedia never denied this was its position until opposing Comcast’s motion.

        Viamedia’s other contentions are makeweights that should be rejected. First, Viamedia

argues that it is “common” to eliminate the requirement to log post-complaint privileged

communications with litigation counsel. Opp. 6. But as Comcast’s motion explained (Mot. 3

n.1), Comcast does not seek to modify the provision of the ESI Order pertaining to

communications between the parties and their outside litigation counsel. To be clear, Comcast is


        1
           This situation is starkly different from Viamedia’s attempt “[e]arly in discovery” to re-trade a
list of document custodians agreed to only weeks before. Opp. 7. Instead, changed circumstances have
created the need to alter slightly a procedural order entered years ago.
        2
         As described in Comcast’s motion, Comcast has been asking Viamedia for a privilege log since
March 2021. Mot. 4. Following extensive efforts to meet and confer with Viamedia, undersigned
counsel wrote to Viamedia on June 24, 2021 that “Viamedia . . . takes the remarkable position that it
should have to produce no privilege log at all.” Ex. D at 2.

                                                      3
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not seeking a log of Viamedia’s post-complaint communications with its counsel of record. To

the extent that Viamedia argues that other withheld, post-complaint documents generally should

not be logged, that position should be rejected in this case where its sizable remand production

consists almost entirely of post-complaint documents.3

        Second, Viamedia appears to suggest that it has a reliance interest in the terms of the

original ESI Order. Opp. 6-7. In support of this contention, Viamedia cites only cases involving

the confidential treatment of produced documents, a question involving reliance interests not

present here. Viamedia does not – and presumably cannot – articulate any way in which it relied

to its detriment on its position that it should not have to prepare a full privilege log. Tellingly,

Viamedia does not even assert that it would be burdensome for Viamedia to prepare the log.

        Third, Viamedia argues that even if Comcast can show “good cause” to modify the ESI

Order, the Court should not do so unless a “manifest error of law or fact” was made in January

2017 or there is “newly discovered evidence.” Opp. 8. Viamedia’s position is baseless. It is

well-established that this Court has the authority to modify for good cause orders entered

pursuant to Rule 26(c) (as the ESI Order was, see Dkt. 55 at 1). See, e.g., Kyles v. J.K. Guardian

Security Services, 2006 WL 2349238, at *4 (N.D. Ill. 2006) (“Just as good cause is required for

issuance of a protective order under Rule 26(c), so too must good cause be shown before it can

be vacated.”); Superior Graphite Co. v. Timcal SA, 2006 WL 8459743, at *1 (N.D. Ill. 2006);



        3
            The only documents at issue in Netbula, LLC v. Chordiant Software, Inc., 2009 WL 3919495
(N.D. Cal. Nov. 18, 2009), were “communications with [defendant’s] attorneys that post-date the filing of
the . . . action.” Id. at *3. Netbula thus does not stand for the principle that other documents withheld for
privilege and/or work product should not be included on a privilege log. Stern v. O’Quinn, 253 F.R.D.
663 (S.D. Fla. 2008) followed a “policy decision” made by the Southern District of Florida as reflected in
that court’s distinctive local rules. Id. at 689. United States v. Cinergy Corp., 2008 WL 5424007, at *4
(S.D. Ind. Dec. 30, 2008), involved a dispute over whether a party had waived work-product protection by
complying with an agreement as to the scope of privilege logs, not whether the parties’ agreement should
be modified in light of changed circumstances.
                                                     4
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Smartsignal Corp. v. Expert Microsystems, Inc., 2006 WL 1343647, at *2 (N.D. Ill. 2006). And

the ESI Order itself contemplates that it can be modified. See Dkt. 55, ¶ 9 (“This Order shall be

subject to modification by the Court on its own initiative or on motion of a party.”).

        Finally, Viamedia argues that the motion should be denied on the ground that it is

untimely. Opp. 9. But this too is meritless. As recently as March 2021, Viamedia appeared to

take the expected position that the parties should exchange privilege logs. See Mot. 4. Viamedia

apparently changed its mind in May 2021, and the parties reached an impasse on the subject of

this motion the following month. See id.; Ex. D at 2. By the time this dispute had ripened,

Comcast had told the Court (during the April 23, 2021 conference) that it believed that resolution

of other discovery motions would “likely inform and hopefully help resolve any other pending

discovery disputes.” Ex. E at 7:16-17.4 Comcast hoped to avoid burdening the Court with

another motion. Nonetheless, Comcast concluded in August 2021 that it was appropriate to seek

relief on this discrete issue. Tellingly, Viamedia does not assert that it was prejudiced by the

timing of Comcast’s motion.5

                                            CONCLUSION

        Comcast’s motion to compel Viamedia to serve a privilege log and for the Court to

amend the ESI Order should be granted.




        4
         Viamedia complains that Comcast is attempting to “bleed out its smaller rival” (Opp. 2) through
prolonged discovery, but it is readily apparent from the record that it is Viamedia’s persistent pattern of
unreasonable positions and delaying tactics that are responsible for any discovery delays.
        5
        Comcast has served a privilege log for Comcast’s remand production of pre-complaint
documents, and is prepared to serve a full privilege log promptly after Comcast’s motion is granted.

                                                     5
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Dated:   September 10, 2021          Respectfully submitted,


                                     COMCAST CORPORATION AND
                                     COMCAST CABLE COMMUNICATIONS
                                     MANAGEMENT, LLC

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                               CERTIFICATE OF SERVICE

       I, Ross B. Bricker, an attorney, certify that on September 10, 2021, I caused the foregoing

Comcast’s Reply in Support of Its Motion (1) To Compel Viamedia To Serve a Privilege

Log and (2) To Amend the ESI Order to be served on all counsel of record listed via the

Court’s ECF system.



                                               /s/ Ross B. Bricker
